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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                             GREENVILLE DIVISION


UNITED STATES OF AMERICA,

VS.                                          CRIMINAL ACTION NO. 4:06CR124-P-D

CHARLES BARRETT MERRILL,                                                 DEFENDANT.

                                             ORDER

       This matter comes before the court upon Defendant Charles Barrett Merrill’s Renewed

Motion for Severance and Separate Trial Based Upon New Information [219]. After due

consideration of the motion, the court finds that since the court will give the jury appropriate

limiting instructions, the motion to sever should be denied.

       IT IS THEREFORE ORDERED AND ADJUDGED that Defendant Charles Barrett

Merrill’s Renewed Motion for Severance and Separate Trial Based Upon New Information [219]

is DENIED.

       SO ORDERED this the 2nd day of September, A.D., 2009.


                                                     /s/ W. Allen Pepper, Jr.
                                                     W. ALLEN PEPPER, JR.
                                                     UNITED STATES DISTRICT JUDGE
